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                                                                      October         2021

                                                                                  LETTER BRIET'I

 BY ELECTRON]IC FILING (ECF)
 Hon. Ann Marie Donio, U.S.M.J.
 United States District Court for the pistrict of New Jersey
 MitchellH. Cohen U.S. Courthousef Room 2010
 I .lolrn F. Gerry Plaza,4rh & Cooper Streets
 Camden, New Jersey 08101

                                               Joseptr Dixon, et al.



                    Tanika Joyce, et al v Joseph



 Dear Judge

                                      L

           ...   [T]he responding Defe            [sic] are

 Exarnination from 2012: however. t             816/lll examination reveals that Dixon did                      a Fitness


 for Dutv Examination on 8/22/12                there    tffirnffibm                  n${nfrnm                        v
         'The version of this Letter B ief to b,: filed on the docket will contain redar:tion due to
 the subject matter of this motion. A full version without redactions will be sent to Cha
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 qEffffi!ffiUuffiffi...''See:\/|9/20MillvilleResponsestoDocunrent                                           uests, al


  12, Resp.    No. l9 (bracketed material    and emphasis added), at Exhibit          "A."   Delbndant     certified

 response is that they are "unable to locate" rthis rather important document. The di

 Dixon's 2012 initial fitness for duty examination necessarily colors any analysis of                     fbndants'

 production of the officers' remaining examination reports in heavily redacted format.

          In   Plaintiffs' July 28, 2021 discovery deficiency letter, Plaintiffs placed Detfendan         <ln   nrltice

 that this was an issue. See 7 /28121 Discovery Deficiency Letter, at         7   ,   15, 16, E:xhibit    8."    More

 specifically, Plaintilfs let Defendants know that a section of Defendant Dixon's 2018 fi                   forduty

 report was mostly redacted, but contained          {, W              ffiffr fr                              ffi
 il0ffitt0fuw*s        ffifiuffi   sffi-ffi*rs           sffifih*." rd. at 16.           Plaintiffs   a   informed

 Defendants in the July 28, 2021 letter tha1. Defendant Orndorf, as part of the                            lrcyment


 process,     #ffi0m   s0#&ffi{ M *e                    ffi fl&f ro that the Miltville Police                   rtment


 wffi    E+    ffi      fffi strMwfrflrflFffiffift **'ffiilfrrrffi      ffi           ffitnry             , !1. at 15,


 which suggests rhat     frffiW,ffi&W #ffkWW ffinroffiWWffiffit
 S   ffffi#   iffi.     A copy of that ffiffiffitr ffie qmffiW ffi W, * p                                  uced by

 Defendants as Millville/000288, is attached as Exhibit        "C."

          The missing     ffifffifl lfinfffi{ilmffitry                      are further relevant


 Defendants' as-yet uncertified Septgmber 8.,2021 supplemental discovery responses,                        r,'ided in


 responseto Plaintiffs' July 28, 2021 4eficienr:y letter, Defendants write, in pertinent prart, s follows:




                                           Len',{^a-T     FF
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                                             UF       Jp,ac-r F b


  See Defs.'   9l8l2l [Jncertified Supp. Responses,          at 20, Exhibit   "D" (emphasis addr:d). !!'fren                 vieruirn6;


  orndorrs     Wffiffi ffi{ffiffit{ft dW"W M                                                   ffif      in   tt:rr!:   crinrext       o    I
  the above uncertified answer, different possibilities are raised:                (l)   Defendants wertj not awar€)

  because they did not get    thesffi;even        though     suchffi{ft       would be pertinent to

  Stfrfrffi    of a man being given a badge and a gun; or (2) the Millville Police Departr                              n1l, as paLrt


  of Orndorf s hirinlg process, actuallly did re,ceive the Wffi but simply have                  noil                             thern.

  This second scenario would render the abo,'ie-asserted lack of knowledge to be i

            And as for that missing Di>:on,2012 initial fitness for duty examinatjion, the Cc                                likewiLst:


  should be troubled when         it   con,siclers   thAt,   in Defendants'       September    8,     11021             ncertif,red

  supplemental discovery responses, Defundants stated, among other things: "... ,{s                                     the iniltial

  Fitness for Duty examination of Dtixon, M:illville                                                                         i-ug" !dL,

  Exhibit "D," at 25 (emphasis added). I\loreover, Defendants say in their                          as-yet              ncertifierd


  supplemental September 8,2021diisc,cvery responses, "Attempts were made arounri A                                     il   8,   .202u1,



  to obtain a copy of the report from       fif,ffifu;        howeuer, it was learned that     fi|[                               offi<x:


  has   closed." Id. It that last part is   tru:e, then that means     Plaintiffs might not have fi                     out       aLro'ul


  the closure of   illffiffiffi   office, or about Defendants' efforts in April of 2020           tlo   a,btai          the initirril


  Dixon fihress for cluty report, had Plarintifft; not sent Defendants a deficiency le,tter in uly of ttLis

  vear.
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          Following Plaintiffs' Septermber 15,2021 letter response (a copy otf which tht: Court may

  already possess) and the resolution by agreement of some discovery issues, the Court oonductecl a

  telephone conference on Septen-rlier29,202:.1. The Court ruled, among other thingr;,               th,zrt   Plaintilfs

  would be granted leave to file a discovery motion regarding the officers' fitnes,s fbr                            clurty


  examinations. A copy of the Court's September 29,2021Order is attached as Exhibil "8."

          Following the issuance of'ttre lieptember 29,2021Order, Defendants, in arn Octolhen 1,2021

  letter, a copy of which is attached as llxl-ribi.t "F," now raised the issue that icertain portions of             tlhLe



  Dixon 2018 fitness for duty reporl. were left unredacted in error, but anotirer portion                  which'rvaLs


 originally redacted should not have lbeen. See Exhibit "F," 10lll2l letter at lZ. \zl,greover., ,ais

 Defendants pointerl out in their Orotober 1,2021 letter, the stated date on whic;h              W$Wf
 qWWffi         of Dixon took place, March 10, 2018, was also an error. Id,              Cgpqparc the ne,wly

 redacted Dixon Aurgust 6,2018 report, attached withiri Exhibit          "F," with   the orilginal, {ttached,a.s


 Exlribit "G," and,rlhicli is markecl as Milllville/OO1053-1064. A copy of the, Augursf 29,20115
                                                                                               -fhe
 Orndorf fitness for duty report, Millville/00 065- 1078, is attached as Exhibit
                                                 JL                                     "H."            d,cnfluen,:e

 of these multiple effors, the missing pre-employment      liffiffiffi      ffiffi    lbrone,offi{,::r, and the

 lack of an explanation for the absence of another officer's fitness report altc,gether, gi                   Pltaintifls

 understandable concern when faced wjith heaLvily redacted reports produced by the oppot; ng partt€:s.

          I{owever,   ffiffiry        redacted reports on the officers share a       corllnoil   t              , which

 shapes the legal analysis: The reports on thr:ir face demonstrate       ffiftff Sffi
 ffieruffiry    WWry             August 6, 20lti report on Dixon reads in relevant pa'rt as           1i




                                            Rf n'"+drg'f)'
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                                        E-F.h""ot-T             6h




  See   Exhibit "F," at Millville/O01053 (emphasis added). One fundamental problem is r           Plaintiffs

  at this point cannot read   mtr{ffitn.        " [n light of that missing August 20 l 2         for Dixolr,

  for which Defendants said they were "unahle to locate" and had "no explanatio4f'                why it is

  missing, Plaintiffs reserve the right to request a spoilation instruction at trial and tq       whatever

  other additional relief may be             from tl.re Court for the absence of that critlcal

  That aside, what is clear from                is that it was conducted

 $*4$ueing       Chief Farabella.         could not be more clear, moreover, is that Dix$n




                                                tlb,agT*FF
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                                       'Qen-+-eT-F>




  See Exhibit "H,".Millville/001065 (empha:sis added). Because
                                                               the bulk of the repon               redacte,<1,

  what is not known is   whether              ft received and considered orndorf   s               from the

  nfln#trf             #|tW,              and whar impact, if any, such
                                                                          fff   had on his          luation.




                                       RtspxeT F$




                                    IT.   LEGAL ARGUMENT

         The federal rules have established a liberal system of discovery ..meant to i           re that   n,o

 relevant fact remain[s] hidden." Crawford, v. Dominic,469 F. Supp. 260,262 (E.L)
                                                                                  Pa. 1979)

 (Pollak, J.). Nevertheless, as stated in their October 1,2021letter, Defendants attempt
                                                                                           tcr   nvoke the

 psychotherapy privilege recognized by Jaffee v. Redmond, 5lg U.S. I (1996) to bar
                                                                                                     ion,of

 the officers' unredacted fitness for duty reports. However, as recognized in

 Borough Police officer Trige, CivilAcrion l,lo. 95-5885 (E.D.pa. Feb. 2, lggg),a copy            whictr   il:s



 attached as "1," this; privilege is not absolut,e because it does not cover all communi
                                                                                                 ions wittr
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   psycliiatrists, psychologists, and social workers and, as with other testimonial privileges, it can
                                                                                                       be

  waived. Id., slip op. at 5 (citing Jafft:e, 518 U.S. ar l5 n.l4).

             Defendants' refusal to producc these reports is not correct when one considers Siegfrie<ly"

  City of Easton, 146 F.R.D. 98,          l0l   (8.D. Pa.1992). In that   case, a   plaintiff who was allegedly

  assaulted by    eL   police officer sought to compel production of the police officer's pre-employmenl

  psychological testing, arguing that the rnaterial was relevant to his $ l9S3 claims against the City.

  Defendants opposed plaintiffs motion, asserting, among other things,                              the federal
  psychotherapist-patient privilege. The district court granted plaintiffs motion. Id.               at 102.    In

  determining first the inapplicability of the privilege and then, alternatively, that the privilege could

  be breached, the court ruled:


                       ln the instant action, the information sought by plaintif'fs is highly relevant and rnay
                       provide compelling evidence concerning the city's knowledge ofdefenda.nt Sr:hlegel's
                       propensity toward violence. Thus, there is a significant evidentiary nee<jl for        titre
                       production of this evidence . . . .

  Id.   at 100-101. llhe district court also rejected defendants'executive privilege argument,           granted

  plaintiffls motiotl, and ordered pre-employment psychological reports to be produced frrr in cameya

  inspection. Id. at l0l-102. See also Bayer v. Township of Union.4l4 N.J. Super. 238,997 A.2d

  1118, ll37-3tf       (App.Div.20l0) (ln a section       1983 case, the defendant officers" pr;ychologir:al

  reports were produced to the court for in camera review before it was determined that there uras

  nothing discoverable to provide to the plaintiff). Plaintiffs, for all the reasons outlined herein, cannot

  have a level   ol'comfort that there is simply nothing to see here.

            Furthermore, as the Revelle court pointed out, the focus in ltaffee was on protecting the

  sanctity of the treatment relationship.       [d. Thus, "[a]n evaluation that   \ffas prepared for the lpurpose
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  of employment rvith the expectation that this evaluation would be delivered to the employer is not

  confidential com.munication between the therapist and the patient and is, therefore, not protected by

  the psychotherapist-patient privile65e." Id. (citing Siegfried, supra, 146 F.R.D. at 101). As such, the

  district court in ltevelle, which involved a section 1983 case for the use of excess;ive force duriinl3

  an arrest, orderec[ the disclosure of ,evaluations made for employment, rather than firr counseling or


  treatment pury)osies, for in camera review. Id. at        1,5.    See also   Laflby v. King, l\o.       l}-cv-ll7'/
  (M.D.Pa. Apr. I ,2011), a copy of which is attached as Exhibit ".I"             ("   ,.. no psychotherapist-patir:nt

  privilege arose   a1.   all. This is because, Defendant King     underwent the evaluation knowing that              the:


  results would be provided to his emplloyer. The report includes Defendant King's explicit                    relezrse,


  of the information contained in the report to his employer"; citing, inter alia, Siegfiiel[, supla).

          Caver v. City of Trenton, 192 F.R.D. 154 (D.N.J.2000) (l{ughes, M.J.), relied on by

  Defendants in their October       |,2021   lretter, is distinguishable for reasons which are allparenrt in the


  opinion itself. As;Judge Hughes wrote, unlike in Valentin v. Bootes, 325 N.J. Super. 5tt0,140 A.2d

  172 (I-aw   Div. 1998), Siegfried,!Up!1, Miller v. Pancucci,          141 F.R.D.292 (C.D. Cal. 19912), and

  J.N. v. Bellinehan Sch. Dist. No. 501, 871 P.2d I 106 (Wash. App. 1994), the subject <lefendant in

  Caver "clearly irad an expectation          of confidentiality. He was told and                reassured tlrat the

  psychological necords and reports wor"rld be kept strictly confidential, and would not be disclosed                   tcr


  the City of Trenton personnel." Caver, 192 F.R.D.         at   162 (citations   omitted). frg*Wnn#Cfi*Cru*

                 liee also Valentin, supra., 140 A.2dar178-79 ("[t is obvious from this des,criptircn                tirart
 W#dsfl*{t.
 when an applicant consults with this psychologist, he understands that the psychologist rvill                         be:


  reporting back to the police department. Conl.rdentiality between ps'gchologist and patierrt is                     nLot


  expected in this si.tuation. If a patient rnakes a communication expecting it to be disclosed             t,o a   thircl
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   party who is not involved in the patient's trealtment, the psychologist-patient privilege
                                                                                             does

   apply.') Furthermore, the issue of confidentialitV is not determina,tive of whether a communi

   between a patient and psychotherapist is privileged because Jaffee requires that the qommuni

  also be made "in the course of treatment." Jaff@e, lup[4 5 I 8 U.S. at 15.

          Nor is the case at bar akin to Williams v, Pistrict of Columbia, No. 96-0200-LFO, lg97 'WL

  22491(D.D.C. Apr.25,1997),also oited by Judfie Hughes, in whlch the psychiatrist only reporto{

  back to the police department with a "yes" or "rqo" rscommendation on whether the officer shor-lld

  return to active duty, without disclosing any con$dential communioations.    See discrnssiqn   tg Car[g!,

  l92F.R.D.at|62-63.ffi*reportson[othofftcers-thosethathavebeenlocated-s|ats




                                    R e DA+\- eD
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                                              III.   CONCLUSION

             For   all of these reasons, and those already expressed in Plaintiffs' various discovery   lettersr

  which Plaintiffs provided to the Court, Defendants should be required to turn over the o:flficers'

  fitness for duly reports in unredacted format. It is further understood that the Court may order that

  such records be produced for in camera inspection. Additionally, as discussed by the parties            eLnd


  as    mentioned during the September29,202l telephone conference with the Court, those Defe:ndants

  who have not already done so need to certify their September 8, 2021 supplemental discovr:ry

  responses. Finally, Plaintiffs also suggest that the Court order the Defendants to make furttrer and

  more strenuous efforts to locate that missing Dixon 2012 fitness for duty report and the missing

                                      mFfor                 Omdorf.




  cc:       A. Michael Barker, Esquire
            Thomas B. Reynolds, Esquire
            Justin T. Loughry, Esquire




                                                       l0
